                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

                        Plaintiff,                                       Case No. 3:12-cv-519

         v.

REX VENTURE GROUP, LLC d/b/a
ZEEKREWARDS.COM, and PAUL BURKS,

                        Defendants.



    STIPULATION PRESERVING VICTORIABANK’S OBJECTION TO THE COURT’S
                   EXERCISE OF PERSONAL JURISDICTION


         The Receiver and non-party Banca Comerciala Victoriabank SA (“Victoriabank”) hereby

stipulate that Victoriabank’s counsel’s execution of the Agreement to be Bound (“Agreement to

be Bound”) by the Amended Protective Order (“Protective Order”) approved by the Court on

August 26, 2014 [ECF No. 244] shall not constitute a waiver of any arguments, objections, or

defenses by Victoriabank as to the Court’s exercise of personal jurisdiction over Victoriabank.

Following Victoriabank’s counsel’s execution of the Agreement to be Bound, any and all

arguments, objections, and defenses Victoriabank has, or may have, with respect to courts of the

United States (or any individual state therein) exercising personal jurisdiction over Victoriabank

shall be preserved for all purposes.1




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  All arguments, objections, and defenses raised or relied upon by Victoriabank in its Motion by Special Appearance
to Dismiss Receiver’s Motion to Turn Over Assets and/or Find it in Contempt and for Dissolution of February 12,
2016 Order Freezing Assets [ECF No. 494] and associated briefing are expressly preserved following
Victoriabank’s counsel’s execution of the Agreement to be Bound.



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         This 20th day of January, 2017.


By:        s/ Matthew E. Orso              By:       s/ Kiran H. Mehta
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                                                 Kathleen M. Campbell (Admitted Pro Hac
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                                  CERTIFICATE OF SERVICE


         I hereby certify that the foregoing STIPULATION PRESERVING

VICTORIABANK’S OBJECTION TO THE COURT’S EXERCISE OF PERSONAL

JURISDICTION was electronically filed with the Clerk of Court using the CM/ECF system,

which automatically serves notification of such filing to all counsel of record.

         This 20th day of January, 2017.


                                                         s/ Kiran H. Mehta
                                                      Kiran H. Mehta
                                                      North Carolina Bar No. 11011




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